EXHIBIT 24
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-CV-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                          DECLARATION OF SARAH FORTUNE

I, Sarah Fortune, hereby declare as follows:

       1.      I am the John LaPorte Given Professor of Immunology and Infectious Diseases at

the Harvard T.H. Chan School of Public Health (“HSPH”) and the Chair of the Department of

Immunology and Infectious Diseases at HSPH. I was previously a Postdoctoral Fellow at HSPH.

       2.      I hold an M.D. from Columbia University’s College of Physicians and Surgeons as

well as a B.S. in Biology from Yale University. I completed my residency in Internal Medicine at

Brigham and Women’s Hospital and a clinical fellowship in Infectious Diseases in the combined

program of the Brigham and Women’s and Massachusetts General Hospitals.

       3.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       4.      My research focuses on the biology of tuberculosis infection. It seeks to identify

bacterial and immune factors that shape tuberculosis infection outcomes. My research has identi-

fied novel forms of drug resistance in Mycobacterium tuberculosis and defined the differences
between an immune response that protects against disease and one that promotes disease. My la-

boratory collaborates with experts around the world including at MIT, the University of Massa-

chusetts Medical School, Cornell, the University of Pittsburgh, Case Western University, the Uni-

versity of Washington and the University of Cape Town. I lead the HI-IMPAcTB program, one of

three initiatives that form the largest investment that the NIH has ever made in the area of tuber-

culosis, to identify the immune basis of protection from tuberculosis disease. My work informs

strategies for tuberculosis diagnosis, vaccine design, targeting TB treatment and tracking previ-

ously unrecognized modes of TB transmission.

       5.      My work has been published in Science, Cell, Nature Medicine, Nature Microbiol-

ogy, Immunity, the Journal of Experimental Medicine, Lancet Microbiology, Plos Pathogens, Sci-

ence Advances, and other peer-reviewed publications.

       6.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

       7.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter, and

which the Trump administration proposed would serve “as the basis for an agreement in principle




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that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       8.      I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       9.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and

Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters.

       10.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands on Harvard University specifically.

       11.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the more than $2 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds for HSPH.




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       12.     Work in my lab has shut down as the result of these federal funding terminations.

I received a Stop Work Order for the HI-IMPAcTB contract dated April 14, 2025 and received on

April 15. This was a multi-site research contract to identify the immune basis of protection against

tuberculosis infection and disease. Our program was starting its 5th of 7 years of funding and re-

ceived roughly $8 million per year to support 21 research groups over 11 institutions (Harvard;

MIT; UMass Medical School; Massachusetts General Hospital; Case Western University; the Uni-

versities of Pittsburgh, Washington, Colorado and Cape Town; Stellenbosch University; and the

African Health Research Institute). Many of the sites that are party to this contract lack the finan-

cial resources to buffer any of the harm that has resulted from the termination of federal funding.

       13.      The termination of federal funding has already had devastating effects on my lab’s

work. The flow of samples from other sites, the flow of operations, the flow of data and the day-

to-day immune profiling at my lab have all ceased. My lab has stopped receiving shipments from

our collaborators, stopped performing experiments, and has been forced to develop a layoff plan.

Importantly, we are laying off some of the researchers who generated the data and have been

working to analyze and distill the data. Because much of the work is not yet completed or pub-

lished, we are losing whole bodies of work because we are laying off the scientists who carry the

knowledge from the past 5 years of research. Thus, we are losing not only the future funding but

many of the discoveries from the past investments.

       14.     My lab and our collaborators have been forced to scramble to coordinate our re-

sponses to the grant and contract terminations. It is unclear how we will be able to weather this

situation in the long term. We are leveraging any available savings but my discretionary reserves

are only about 10% of my lab’s annual federal budget and thus I have now begun the process of

cutting scientists and support staff through a process of lay-offs and non-renewals.




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       15.     The ambiguity about the reasons for the termination of federal funding has created

enormous financial liabilities. Our lab as well as our collaborators are unsure what steps need to

be taken in order to preserve the key aspects of our work moving forward.

       16.     In addition to our own personnel cuts, several of our collaborators have begun to

cut their staff, particularly at the University of Massachusetts and the University of Washington.

These staff cuts directly affect the work in my lab, as our labs are interconnected. Our work has

been deeply disrupted by these staff cuts, and more cuts are sure to come.

       17.     The HI-IMPAcTB program supported tuberculosis studies in nonhuman primates

at the University of Pittsburgh and in mice at the University of Massachusetts Medical School. To

comply with regulations regarding the humane treatment of animals, these institutions assumed

the cost of animal care when the Stop Work Order was issued. Animal care and use policies pro-

hibit the careless use of animals -- such as initiation of an animal study that is not completed,

wasting animal lives. The University of Massachusetts Medical School therefore completed the

mouse studies underway at the time of the stop work order. Completion of the nonhuman primate

study (testing a novel tuberculosis vaccine developed at The Children’s Hospital of Boston) was

expected to be very expensive (~$500,000) and we were uncertain whether those studies could be

continued at risk or whether the Pittsburgh team would have to euthanize the animals. After the

stop work order became public, a donor provided philanthropic funds to the University of Pitts-

burgh for the completion of the basic parts of this study, although many aspects of the original

study including the immune analyses are not funded and this opportunity, once lost, will never

come back.

       18.     Our lab and research will be irreparably harmed if we are forced to lay off more of

the investigators and staff we employ. Tenured faculty members such as myself rely on federal




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funding to train valuable researchers and support staff over the long term and to staff our labs with

the staff needed to conduct effective scientific inquiry. My research consortium is incredibly ef-

fective and made up of experts in our field. We train our staff using an apprenticeship model that

would be extremely difficult and time-intensive to replicate. Our shared, institutional knowledge

will be scattered to the wind if we are forced to let go of more individuals in the lab. It would be

impossible to later reproduce the accumulated expertise of our current staff if federal funding is

later restored.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.



Dated: May 30, 2025                                   Signed:

                                                      Sarah Fortune, M.D.
                                                      John LaPorte Given Professor of
                                                      Immunology and Infectious Diseases
                                                      Harvard T.H. Chan School of Public Health




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